         Case 3:20-cr-00069-JAG Document 8 Filed 07/21/20 Page 1 of 1 PageID# 16
CRIMINAL PROCEEDINGS        — U.S. DISTRICT COURT, EASTERN DISTRICT OF VA, RICHMOND DIVISION

JUDGE: HANES                                                         DOCKET NO. 3:20cr69
REPORTER: GIL HALASZ                                                 DATE: 7/21/2020
      UNITED STATES OF AMERICA                                               COUNSEL
                   v.

     HENRY McLARTY, SR.
1. _________________________________________                       BENJAMIN HATCH and THOMAS BEVER
                                                              1. __________________________________________
      Deft appeared via VTC ( ) ZOOM ( X )

APPEARANCES:                          JESSICA ABER
                      GOVERNMENT ______________________________________________________________ (X )
                      DEFENDANT WITH COUNSEL ( X )      DEFENDANT WITHOUT COUNSEL ( )
                      DEFENDANT NOT PRESENT ( )         WAIVER OF APPEARANCE FILED (      )
                      INTERPRETER _______________________________ ( )

BAIL STATUS:          DEFENDANT ON BOND/SUPERVISED RELEASE (             )   DEFENDANT INCARCERATED (         )
                      BOND NOT SET ( X )

TYPE OF               INITIAL ( X ) ARRAIGNMENT ( ) REARRAIGNMENT/GUILTY PLEA ( )
PROCEEDINGS:                                                                BOND
                      PRELIMINARY ( ) DETENTION ( ) MOTIONS ( ) OTHER: ___________________ (X )
                      INITIAL ON SUPERVISED RELEASE/PROBATION VIOLATION ( )

PRELIMINARY           WAIVER OF INDICTMENT EXECUTED, FILED ( )
PROCEEDINGS:          CRIMINAL INFORMATION FILED ( )
                      OTHER ( ) ______________________________________________________________________

INITIAL HEARING              DATE OF ARREST: _____________ GOVT’S MOTION TO UNSEAL ( )
PROCEEDINGS:                 COURT SUMMARIZED CHARGES ( X ) DEFT. ADVISED OF RULE 5 RIGHTS ( X )
                             FINANCIAL AFFIDAVIT ( ) COUNSEL TO BE APPOINTED ( )
                             DEFT TO RETAIN COUNSEL ( )
                             GOVT’S MOTION TO DETAIN DEFT ( ) ORDER OF TEMPORARY DETENTION ( )
                             DEFT REMANDED ( ) DETENTION HEARING SET: _______________

PRELIMINARY HEARING          GOVT ADDUCED EVIDENCE ( )    DEFT ADDUCED EVIDENCE ( )
PROCEEDINGS:                 ARGUMENTS HEARD ( ) FINDINGS STATED FROM BENCH ( )
                             DEFT WAIVED HEARING ( ) PROBABLE CAUSE FOUND ( )
                             MOTION FOR CONTINUANCE ( ) GOVT ( ) DEFT ( ) DEFT REMANDED (                     )
                             WITNESS(ES)




DETENTION HEARING            GOVT ADDUCED EVIDENCE ( )       DEFT ADDUCED EVIDENCE ( )
PROCEEDINGS:                 ARGUMENTS HEARD ( ) FINDINGS STATED FROM BENCH ( )
                             DEFT WAIVED HEARING ( ) DEFENDANT CONTINUED ON PRESENT BOND ( )
                             DEFT HELD W/O BOND ( ) FLIGHT RISK ( ) DANGER ( )
                             DEFENDANT RELEASED ON BOND ( X ) ELECTRONIC MONITORING ( )
                             3rd PARTY CUSTODIAN ( ) MOTION FOR CONTINUANCE ( ) GOVT ( ) DEFT ( )
                             DEFT REMANDED ( ) GOVT NOT SEEKING DETENTION ( X)
                             DEFT RELEASED ON SAME CONDITIONS AS PREVIOUSLY IMPOSED ( )
                             WITNESS(ES)




CASE CONTINUED TO:           ___________________________________________ FOR ___________________________

CASE SET: 11:00       BEGAN: 11:01             ENDED: 11:19          TIME IN COURT: 18 MINS
